              Case 2:04-cr-00381-FCD Document 43 Filed 08/01/05 Page 1 of 3


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     Federal Defender
 2   MARK J. REICHEL, Bar #155034
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 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     MIGUEL ANGEL SANCHEZ
 6
 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,             )
11                                         ) Case No. CR.S-04-381-FCD
                       Plaintiff,          )
12                                         )
            v.                             )      STIPULATION AND ORDER;
13                                         )          EXCLUSION OF TIME
                                           )
14                                         )
     MIGUEL ANGEL SANCHEZ, et al.,         ) Date: August 15, 2005
15                                         ) Time: 9:30 a.m.
                    Defendant.               Judge: Honorable Frank C. Damrell
16   _____________________________

17          IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, SAMUEL WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, attorney for Defendant, that the previously scheduled change

21   of plea hearing date of August 1, 2005 be vacated and the matter set

22   for change of plea on August 15, 2005 at 9:30 am.

23          This continuance is requested because defense counsel is out of

24   the country till August 10th. and needs additional time to review

25   discovery with the defendant, conduct legal research, perform

26   background factual investigation, and properly prepare for a potential

27   change of plea.

28   Stip and Order
              Case 2:04-cr-00381-FCD Document 43 Filed 08/01/05 Page 2 of 3


 1          Accordingly, all counsel and the defendant agree that time under
 2   the Speedy Trial Act from the date this stipulation is lodged, through
 3   August 15, 2005, should be excluded in computing the time within which
 4   trial must commence under the Speedy Trial Act, pursuant to Title 18
 5   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 6   DATED: July 29, 2005.                     Respectfully submitted,
 7                                                   QUIN DENVIR
                                                     Federal Public Defender
 8
 9
     DATED: July 29, 2005.                           /s/MARK J. REICHEL
10                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
11                                                   Attorney for Defendant
12
                                                     /s/MARK J. REICHEL
13                                                   CHRISTOPHER HAYDEN MEYER,ESQ
                                                     Attorney for Defendant
14
15                                                   /s/MARK J. REICHEL
                                                     SHARI RUSK, ESQ
16                                                   Attorney for Defendant
17
18                                                   McGREGOR SCOTT
                                                     United States Attorney
19
20
     DATED: July 29, 2005.                           /s/MARK J. REICHEL for
21                                                   SAMUEL WONG
                                                     Assistant U.S. Attorney
22                                                   Attorney for Plaintiff
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     Stip and Order                            2
              Case 2:04-cr-00381-FCD Document 43 Filed 08/01/05 Page 3 of 3


 1
                                   O R D E R
 2
            The previously scheduled change of plea hearing date of
 3
     August 1, 2005 be vacated and the matter set for change of plea on
 4
     August 15, 2005 at 9:30 am.
 5
            The court finds that the interests of justice in granting the
 6
     continuance outweighs the public's interest in a speedy trial and
 7
     therefore time is excluded in the interests of justice pursuant to
 8
     18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 9
     IT IS SO ORDERED
10
     DATED: July 29, 2005                            /s/ Frank C. Damrell Jr.
11                                                   FRANK C DAMRELL JR.
                                                     United States District Judge
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     Stip and Order                            3
